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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

                                  CASE NO. 1:14-CV- 04132-ER


   SECURITIES AND EXCHANGE
   COMMISSION,
                                         Plaintiff,

              v.

   LUIS CHANG
   and
   EVERBRIGHT DEVELOPMENT
   OVERSEAS LIMITED,


                                  Defendants.




               ORDER TO DISBURSE FUNDS TO PAY TAX LIABILITIES

        The Court, having reviewed the Securities and Exchange Commission’s (“SEC” or

“Commission”) Motion for an Order to Disburse Funds to Pay Tax Liabilities, and the

supporting Declarations of the Tax Administrator, and for good cause shown,

 IT IS HEREBY ORDERED:

   1.    The motion is granted.


   2.    The Commission shall initiate the disbursement from the Distribution Fund maintained

under the case name designation “SEC v. Chang, Luis et al.” payable to “Miller Kaplan Arase

SEC Trust Account” for the amounts of: (1) $23,774.00, with a notation of “SEC v. Luis Chang,

EIN XX-XXX9191, Tax Year 2019 and (2) $10,000, with a notation of “SEC v Luis Chang, EIN

XX-XXX9191, Second Quarter, Tax Year 2020, for the payment of the tax liabilities as provided

in the supporting Declarations.

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        3. The checks shall be sent by U.S. mail to:


                    Miller Kaplan Arase LLP
                    Two Embarcadero Center
                    Suite 2280
                    San Francisco, CA 94111

SO ORDERED.
    Dated: Oct. 21 , 2020
                                               _______________________________
                                               Edgardo Ramos, U.S. D.J.
                                               Dated:____________________
                                                      10/21/2020
                                               New York, New York




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